          Case 1:13-vv-00603-UNJ Document 38 Filed 03/20/15 Page 1 of 7




       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 13-603V
                                     Filed: February 27, 2015

* * * * * * * * * * * * * * * *                            UNPUBLISHED
BRUCE A. GOLDSMITH,                          *
                                             *            Special Master Dorsey
               Petitioner,                   *
                                             *
v.                                           *
                                             *
SECRETARY OF HEALTH                          *             Joint Stipulation on Damages;
AND HUMAN SERVICES,                          *             Influenza (Flu) Vaccine; Significant
                                             *             Aggravation of Transverse Myelitis.
               Respondent.                   *
                                             *
* * * * * * * * * * * * * * * *
Elizabeth Martin Muldowney, Rawls, McNelis and Mitchell, PC, Richmond, VA, for petitioner.
Debra A. Filteau Begley, United States Department of Justice, Washington, DC, for respondent.

                                            DECISION1

        On August 23, 2013, Bruce Goldsmith (“petitioner”), filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that a trivalent influenza (“flu”) vaccine, administered to him on October 20,
2010, caused him to suffer a significant aggravation of his previously diagnosed transverse
myelitis (“TM”), resulting in increased pain, gait deterioration, diminution in balance and other
neurological sequalae. Petition at 1. Petitioner further alleged that he suffered the residual
effects or complications of his vaccine injury for more than six months. Id. at 6. On February

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

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          Case 1:13-vv-00603-UNJ Document 38 Filed 03/20/15 Page 2 of 7



26, 2015, the parties filed a stipulation, stating that a decision should be entered awarding
compensation.

       Respondent denies that petitioner’s significant aggravation of TM, or any other condition,
was caused-in-fact by his flu vaccination. Nevertheless, the parties agree to the joint stipulation,
attached hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulated that petitioner shall receive the following compensation:

       A lump sum of $120,000.00, in the form of a check payable to petitioner. This amount
       represent compensation for all damages that would be available under 42 U.S.C. § 300aa-
       15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                              s/ Nora Beth Dorsey
                                              Nora Beth Dorsey
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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Case 1:13-vv-00603-UNJ Document 38 Filed 03/20/15 Page 3 of 7
Case 1:13-vv-00603-UNJ Document 38 Filed 03/20/15 Page 4 of 7
Case 1:13-vv-00603-UNJ Document 38 Filed 03/20/15 Page 5 of 7
Case 1:13-vv-00603-UNJ Document 38 Filed 03/20/15 Page 6 of 7
Case 1:13-vv-00603-UNJ Document 38 Filed 03/20/15 Page 7 of 7
